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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION



Reiyn Keohane,

               Plaintiff,

v.

Julie Jones,
in her official capacity as
Secretary of the Florida Department of Corrections,

Trung Van Le,
in his official capacity as
Chief Health Officer of the Desoto Annex,

Teresita Dieguez,
in her official capacity as
Medical Director of Everglades Correctional Institution,

Francisco Acosta,
in his official capacity as
Warden of Everglades Correctional Institution,

               Defendants.




                                Declaration of Reiyn Keohane

       1.      I, Reiyn Keohane, am the Plaintiff in this case. I am over the age of 18 and am

competent to testify regarding the contents of this Declaration, which I make based upon my

personal knowledge.




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       2.      I am a 22-year-old transgender woman serving a fifteen-year sentence in the

custody of the Florida Department of Corrections ("DOC"). I am currently incarcerated at

Everglades Correctional Institution ("Everglades CI") in Miami, Florida.

       3.      I have known that I have a female gender identity since age 12.

       4.      At age 13 (around November 27, 2007), I began seeing a psychiatrist, Omar

Rieche, M.D., of Fort Myers, along with a therapist in Dr. Rieche's practice, MaryAnn Rocco,

LCSW. From age 14 on, with the support of these professionals, I always wore female-typical

cosmetics, clothing, and hairstyles.

       5.      At age 16 (around March 2010), I was diagnosed with Gender Identity Disorder

(now known as Gender Dysphoria).

       6.      At age 17 (around June 2011), I legally changed my name from a traditionally

male name to my current name to bring my legal name into conformity with my gender identity.

Even before my legal name change, I went by "Reiyn" among all of my friends.

       7.      Dr. Rieche referred me to a pediatric endocrinologist, Dr. Cayce T. Jehaimi,

M.D., of Fort Myers. In early August 2013, at age 19, I began hormone therapy-Estrace

(estradiol) and Aldactone (spironolactone)-under the care of Dr. Jehaimi.

       8.      Around September 22, 2013, I was charged with attempted second-degree murder

and was taken into the custody of the Lee County Jail. At the Lee County Jail, I requested to

continue my hormone therapy, but the Lee County Jail refused. In July 2014, I accepted a plea

deal of 15 years, understanding that I would be returned to her hormone therapy after being

transferred to DOC custody. Maintaining my hormone therapy was of the utmost importance to

me and was the motivating factor in my acceptance of the plea.




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       9.      On July 17, 2014, I was committed to the custody of the DOC. I began my

commitment at the South Florida Reception Center.

       10.     From shortly after my arrival at the DOC, I began requesting treatment for my

Gender Dysphoria. From the first conversations I had with DOC officials concerning my need

for treatment, I made clear both my need for hormone therapy and my need to be able to live as

female in all aspects of life-including dressing and grooming (including growing my hair)-as

I did prior to my incarceration. Through to the present day, in nearly all conversations I have had

with mental-health and medical officials at the DOC in which my transgender status and need for

treatment for Gender Dysphoria were discussed, I raised both my need for hormone therapy and

my need to access female dressing and grooming standards. I made repeated requests to mental-

health and medical officials that I be provided comprehensive, medically necessary treatment for

Gender Dysphoria, including hormone therapy and the ability to dress and groom in accordance

with female grooming standards. These requests were denied.

       11.     At the South Florida Reception Center, I filed an informal grievance on August

11, 2014 (Request No. 08-060-14), stating:


       I need my hormone therapy resumed. I had it as a result of a legitimate,
       documented diagnosis and prescription when I was arrested and was then unjustly
       denied this treatment while in Lee County Jail. This treatment is absolutely
       necessary to my ability to mentally function. Without it I consider self-harm and
       suicide every single day. It is the only thing that matters in my life in this moment
       - that I have been taken off of such critical medication is cruel and unusual
       punishment in that it causes needless suffering. This is not an issue that is any
       way complicated- I need the medication. I was wrongfully refused treatment in a
       way which is irresponsible, discriminatory, and unconstitutional, and continue to
       be refused in the same manner by the DoC. The answer should be both obvious
       and simple - stop refusing to give me my prescription medication before I have to
       take any legal action.

       12.     This informal grievance was "returned" dated August 21, 2014, on the grounds

that the DOC needed to obtain my outside medical records. The response stated:

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       I met with you on 08/21114 and discussed inmate orientation procedure 601.210
       regarding your aforementioned complaints. As discussed the next step in the
       process is to obtain previous/existing health information from your provider. You
       signed a Release of Information on 08/21114 consenting to this action. My team
       will confer with your provider and obtain health information to channel to our
       provider to review and determine the best course of action.

        13.      On September 1, 2014, since I still was not receiving hormone therapy, I filed

another informal grievance requesting again that I be placed back on hormone therapy. This was

denied the next day on the grounds that I allegedly canceled an appointment with Dr. Jehaimi the

previous year.

        14.      In another informal grievance filed September 12, 2014, I explained that I was

unable to show up for the appointment because I was in jail at the time.

        15.      On September 24, 2014, I received a denial of the September 12, 2014, informal

grievance, which states that "you will not be placed on hormonal therapy while incarcerated in

the Florida State Dept. of Corrections. If you are having mental health concerns, please write a

request to our Mental Health Dept. for an appointment to be seen."

        16.      On October 6, 2014, I filed an appeal (No. 14-6-33110) ofthe informal grievances

filed on September 1 and 12, 2014. In that appeal, I state:

       I am transgender and was receiving Hormone Replacement Therapy when I was
       arrested (Sept 23 2013). I have not rec[ei]ved'it since. I have provided medical
       records that prove I was receiving this treatment, but the DeSoto medical staff
       refuses to give me this prescribed medication. The first denial was given on the
       grounds that "you canceled your appointment in November 2013 ". They are
       unable to provide documented proof that I canceled - it was canceled because I
       was in jail, not of my own accord. I wrote them again so that they may correct
       this, as it may have been a mistake. (see attached) The second denial (attached) is
       a flagrant example of their willful indifference to the needless suffering I face
       every day. I have been fighting to get my treatment back for this entire year- the
       only reason I have not received it since 2013 is because the state has refused to
       give it to me the entire time I have been in custody. This is not and never was a
       voluntary denial....




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       17.     Around October 14-17, 2014, while in administrative confinement, I attempted to

hang myselfbecause ofthe DOC's refusal to provide me with transition-related care.

       18.     Mr. Stuthers, a mental-health specialist at Desoto CI, told me that if he had to

diagnose me, he would agree with the diagnosis of Gender Identity Disorder. Dr. Sicilia also told

me, both at Desoto CI and Charlotte CI, that she agreed with the diagnosis of Gender Identity

Disorder.

       19.     On a document dated October 21, 2014, my appeal (No. 14-6-33110) of the

informal grievances filed on September 1 and 12, 2014, was returned without action on the

grounds that "[y]ou did not provide this office with a copy of the formal grievance filed at the

institutional level as required by rule or the reason you provided for by-passing that level of the

grievance procedure is not acceptable."

       20.     On October 31, 2014, I filed a formal grievance with the warden at the Desoto

Annex. In that grievance (Grievance No. 1411-564-003), I explained that it was cruel and

unusual punishment for the DOC to deny me the medication that I needed. I stated:

       I have a legal right to receive it .... since I have documented proof that I was
       receiving it. To deny it is to cause depression and suicidal tendencies, which I
       must face on a daily basis. Statistically speaking, transgendered people literally
       have the highest suicide rate of any group of people - there is no counseling that
       can ever substitute for the medical treatment that I require. My mind violently
       rejects my own body, telling me that it is wrong, that parts of me are missing- to
       suggest that I receive counseling only is to do nothing to treat this at all. No
       amount of counseling can ever make who I am on this most fundamental level
       change ..... This treatment is literally necessary for me to have a future- there is
       no possible chance that I could endure the absolute agony of waking up every day
       to my own body forcing me to hate myself, to the point where I struggle not to
       hurt or kill myself every day, getting by only on the hope that it will not always be
       like this. To take my medication from me is to force this misery upon me -
       hormone therapy is necessary for me to live on a daily basis, and to complete my
       time in a positive and productive manner. I would like to use my time to better
       myself, and I try to, but this is the most important thing that can possibly be done
       to improve my future. Without it, I have no will to have a future at all- one where
       I can go on hating myself forever and ever, where I can never be truly happy no


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        matter what I do, is not a future worth having at all. This is, essentially, the
        reasoning as to why it is cruel and unusual punishment - a basis in reality to better
        understand why the law is supposed to protect my right to my hormone therapy.

        21.     On a document dated November 20, 2014, the formal grievance (Grievance No.

1411-564-003) was denied by Dr. Trung Van Le, M.D., who stated:


       UPON REVIEW OF YOUR MEDICAL RECORDS RECEIVED FROM DR.
       CAYCE JEHAIMI, YOU HAD CANCELLED YOUR LAST APPOINTMENT
       IN NOVEMBER OF 2013 WITH NO FURTHER SCHEDULED
       APPOINTMENTS. DR. JEHAIMI THEN NOTED THAT YOUR
       PRESCRIPTION FOR THE HORMONE REPLACEMENT THERAPY
       WOULD BE SUSPENDED AS IT WOULD BE DANGEROUS TO CONTINUE
       WITHOUT ANY CLOSE ENDOCRINE SUPERVISION. AT THIS TIME
       THERE IS NO CONSIDERATION TO RESTART YOUR HORMONE
       REPLACEMENT THERAPY. YOU ARE CURRENTLY BEING SEEN BY
       OUR MENTAL HEALTH STAFF WITH AN INDIVIDUALIZED SERVICE
       PLAN IN PLACE IN ORDER TO PROVIDE YOU A MEANS TO DISCUSS
       YOUR PROBLEMS WITH A MENTAL HEALTH PROFESSIONAL. IF YOU
       HAVE FURTHER CONCERNS OR QUESTIONS, YOU MAY ACCESS SICK-
       CALL AND ADDRESS THEM WITH THE HEALTH CARE STAFF. ALSO,
       AT ANY TIME YOU MAY SEEK MENTAL HEALTH SERVICES AND OUR
       STAFF WILL RESPOND AS PROMPTLY AS POSSIBLE TO YOUR
       REQUESTS.
       22.     In my appeal of the denial of Grievance No. 1411-564-003 to the DOC Secretary

(appeal labeled as Grievance No. 14-6-39574) dated December 3, 2014, I explained that I did not

cancel my appointment with Dr. Jehaimi, but rather I did not attend my appointment because I

was in jail. Specifically, I wrote:

       I am transgender, and was receiving Hormone Replacement Therapy at the time
       of my arrest; Sept. 23rd, 2013. The medication I was receiving was Spironolact,
       and also Estradiol; the dosages are in my medical records but I do not remember,
       and the staff has declined to tell me the exact amounts. According to statute 3 .48
       of the Inmate Rights Handbook, a transgender inmate who was receiving
       Hormone Therapy is supposed to continue receiving hormone therapy. The staff
       at the Desoto Annex are well acquainted with the records that prove I was
       rec[ei]ving treatment for hormone therapy, but refuse to reinstate this medication;
       by statute 3 .48 this can be grounds for cruel and unusual punishment, as it
       demonstrates willful indifference to a very serious medical and psychological
       condition that cannot be treated with counseling alone. The reason given by the
       DeSoto staff is invalid; I did not cancel my appointment, as I was incarcerated in

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       Lee County Jail and was unable to make any such cancellation. There is no
       documentation which I have signed which would negate this treatment - in fact
       the only documentation is of my struggle to have this treatment which has been
       unlawfully suspended restored .... It is absolutely necessary to me that I have my
       treatment restored to me; it is a severe breach of the constitutional ban on cruel
       and unusual punishment to refuse a treatment plan that was determined to be
       necessary by a team of doctors prior to my incarceration solely on the basis of
       being arrested; the necessity of this treatment has not changed in the past year,
       and it never will - I will always need it. Therefore the burden of providing close
       endocrine supervision to accompany the treatment falls to the DoC. There is no
       lawful way for my treatment to be denied; this means that the DoC must provide
       all parts of this hormone therapy, as it is cruel and unusual punishment to forbid
       it, and the fact that it requires close supervision is neither here nor there; the
       burden of care falls to the DoC and it is wholly unconstitutional to deny treatment
       solely because the DoC does not want to pay for it. Please see to it that this
       unconstitutional denial of treatment is not allowed to continue.

       23.    On December 9, 2014, I filed a grievance directed to Dr. Sicilia, stating:

       I would like to schedule an appointment to discuss the psychological necessity of
       myself dressing as a female, and the availability of a pass for this way of dressing.
       I have, for the past 6 years consecutively, always dressed in a way that presents
       me as female in appearance through the use of padded bras, etc. For me, this is a
       necessary facet of my life, and deeply ingrained in my personality. In the
       treatment of a trangendered person, this behavio[r] is not only encouraged, but
       required as a prerequisite for the prescription of hormone replacement therapy
       [and] sexual reassignment surgery - I have lived my entire life past the age of 13
       as female, and it is extremely detrimental to my mental health to forbid this
       practi[c]e; it is also well documented as a legitimate and proper treatment for a
       person who is trans gender. As I am trans gender, I should rec[ ei]ve a pass to allow
       me to continue this behavior for my wellbeing. This is part of who I am - it is not
       the place of the DoC to try to change the fact that I am transgender. That is not
       able to be changed. It is the job of the government to accommodate the needs of
       all persons in their care.

       24.    On January 8, 2015, I cut my scrotum with a razor. I told the officials that the

reason I attempted self-castration was because of their failure to provide me with treatment for

my Gender Dysphoria.

       25.    My understanding is that I was then transferred to Charlotte CI because I had

engaged in genital mutilation and had indicated that I would do it again. I regularly met with




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mental-health staff at Charlotte CI, and the main topic of discussion in those meetings was my

transgender status and need for medical treatment.

       26.     In March 2015, I received a denial (dated January 23, 2015) of my appeal

(Grievance No. 14-6-39574), with no reason given other than an affirmation of the response from

Dr. Leon November 20,2014.

       27.     In February 2015, I was transferred from Charlotte CI to Dade CI.

       28.     In April2015, I was transferred from Dade CI to the Charlotte County JaiL I had

been charged with tampering with a security device following events that occurred during my

stay at Charlotte CI. After a jury trial in December 2015, I was acquitted and was sent back to

Dade CI.

       29.     On December 29, 2015, I filed a formal grievance directed to the "chief medical

officer" at Dade CI (Grievance No. 1601-463-009), stating:

       I suffer from Gender Dysphoria, a recognized neurological condition in which a
       person's gender identity is not consistent with the biologically assigned sex. The
       standard treatment is as follows: 1) the patient must be able to live and dress as
       the gender with which they identify[,] 2) hormone therapy, 3) gender
       confirmation surgeries [and] procedures[.] [F]ailure to provide full treatment for
       this medical issue is unconstitutional, in violation of the 8th amendment. This is a
       serious medical need that has been properly diagnosed and brought to the
       attention of medical staff numerous times. To continue the refusal of any and all
       treatment is unacceptable and unconscionable, with no excuse - my symptoms
       include severe depression, anxiety, fatigue, and eating disorders. Additionally,
       other symptoms that can occur are self-injury, rage, addiction, and suicide, in the
       most severe instances. Furthermore, I suffer from an extremely low testosterone
       count, which compounds my symptoms and would also be remedied by the
       hormone therapy part of treatment. Further denial of treatment will constitute
       willful negligence to my medical needs.

       30.     On December 31, 2015, I filed an informal grievance (No. 463-1601-0062) at

Dade CI, stating:

       On 12-16-15, when I arrived at Dade CI TCU, I had 2 personal sports bras and 3
       set of female undergarments that were confiscated unjustly and removed from my

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       property as contraband. I am a transgender female and am not comfortable
       wearing male underwear-it is discrimination on the basis of sex or gender to
       force a person to act in a certain way because of their sex, and therefore it is
       unconstitutional for me to be forced to wear men's underwear. There is no valid
       safety concern as the female underwear is made of the same materials as the male
       sort and is the same as the underwear issued in female prisons, where it clearly
       cannot be a safety concern; therefore the basis for it being confiscated was
       "disciplinary", in that I am classified as male and must therefore do what males
       "are supposed to do." This is unconstitutional in nature, and I request that either
       my personal clothing be returned or that proper female underwear be issued in its
       place.

       31.     On a document dated, January 5, 2016, this informal grievance (No. 463-1601-

0062) was denied in an unsigned response that contains the stamp of the Assistant Warden of

Programs and states: "At a male institution only T-Shirts, Boxers, Pants, and Blue Shirts are

authorized. Any other clothing is unauthorized."

       32.     On a document dated January 19, 2016, Dr. Carmelo Berrios, M.D., medical

director of Dade CI, denied my formal grievance from December 29, 2015 (Grievance No. 1601-

463-009), stating:

       Your formal grievance has been received and reviewed. You will be called out to
       sign a release of information for the endocrinologist that was seeing you before
       incarceration to obtain the medical records to get the full history of treatment.
       Once records are received Dr. Berrios will review and determine the necessary
       treatment plan.

       33.     On February 2016, I was transferred from Dade CI to the South Florida Reception

Center and then to Everglades Cl.

       34.     Around February 29, 2016, I met with the medical director of Everglades CI, Dr.

Teresita Dieguez, M.D. I had at the time, and continue to have, a copy of all of my medical

records documenting my Gender Dysphoria. When Dr. Dieguez told me that she needed my

medical records documenting my Gender Dysphoria, I had them with me and offered to provide

them immediately. Dr. Dieguez refused to look at them. I also informed Dr. Dieguez that records



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documenting my Gender Dysphoria were already in my green medical file, which itself was also

in the room. Dr. Dieguez refused to look at those records as well. Dr. Dieguez refused to discuss

my transgender status with me. Instead, Dr. Dieguez told me, "you are only here so I can

determine the state of your genitals."

       35.     Before the meeting with Dr. Dieguez, I had been housed alone at Everglades CI.

After the meeting with Dr. Dieguez, I was assigned a roommate. The housing sergeant told me

that this was because "medical" said that I am not transgender.

       36.     Around March 15, 2016, I met again with Dr. Dieguez. Dr. Dieguez told me that

she could not do anything for me regarding my request for treatment for Gender Dysphoria, that

all she could do is refer me to the mental-health department. Dr. Dieguez also told me that she

would refer me to the regional medical director.

       37.     Around March 21, 2016, I met with Andre Rivero in the mental-health department

of Everglades CI. Mr. Rivero told me that he agreed with the diagnosis of Gender Dysphoria and

recommended hormone therapy, but he said that my symptoms could only be treated by the

medical department. He thus referred the matter back to the medical department. The following

day, I met with my mental-health counselor, Sonele Baute, who agreed with the diagnosis and

the appropriateness of hormone therapy for me. Ms. Baute told me that a meeting between the

medical and mental-health departments would take place on March 24, 2016, to discuss the

issue. That same week, Dr. Arnice Johnson of Everglades CI also told me that she agreed with

the diagnosis and the appropriateness of hormone therapy for me.

       38.     On May 4, 2016, I filed a formal grievance (Grievance No. 1605-401-009)

directed to the "chief medical officer" at Everglades CI, stating:

       I am transgender, with a formal diagnosis of Gender Identity Disorder by Dr[.]
       Omar Rieche, and was prescribed Hormone Replacement therapy through him

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       and one Dr[.] Cayce Jehaimi for this condition. Specifically, I was prescribed
       Estradiol [and] Spironolactone, and rec[ei]ved both prior to my incarceration.
       While incarcerated, I have not rec[ei]ved this treatment, or any treatment
       whatsoever for my Gender Identity Disorder, despite the fact that it has been
       clearly established in my medical records and confirmed as my diagnosis by
       psychiatric doctors Arnise Johnson [and] Andre Rivera at this institution. This is a
       violation of the 8th amendment, which prohibits cruel and unusual punishment by
       means of willful negligence towards a person's medical needs, and a violation of
       Federal Inmate Rights Statute 3.48 which specifically names Gender Identity
       Disorder as a medical condition requiring treatment, and states that a person who
       was rec[ei]ving Hormone Replacement therapy for Gender Identity Disorder must
       have that treatment continued while incarcerated. I experience severe depression,
       fatigue, anxiety, body-image disorders, fear, eating disorders, persecution, a
       constant state of unease, and self-harming behaviors, including a history of genital
       mutilation, as a result of this lack of treatment. The standard treatment, which I
       require, is as follows; 1) the ability to live as the gender I identity as (female) in
       all aspects of life[;] 2) Hormone therapy (aforementioned)[;] 3) Gender-
       confirmation Surgery[.] Continued failure to provide all of the above constitutes a
       willful indifference to the constant, daily suffering I experience, and is a clear
       violation of my 8th amendment right to rec[ei]ve medical care.

       39.    On a document dated May 18, 2016, Dr. Dieguez denied this gnevance

(Grievance No. 1605-401-009), stating:

       Your request for administrative review has been received, reviewed and
       evaluated. In order to be diagnosed for Gender Dysphoria treatment evaluations of
       your pre-incarceration treatment records including but not limited to: a. hormone
       therapy; b. completed or in-process surgical procedures; c. life experiences
       consistent with the inmate's gender identity; and d. mental health history. [sic]
       Please submit a request to medical records to sign an authorization ('Consent and
       Authorization for Use and Disclosure Inspection and Release of Confidential
       Information,' DC4-711B) for the release of information for all pertinent outside
       medical and mental health records related to your Gender Dysphoria. Based on
       the above information, your grievance is DENIED.

       40.    I have signed the referenced release form for the DOC at least twice. One such

release form is dated 8/21/14. Another, signed by me while I was at Dade CI, is dated 1/7/16.

Before signing that release, I was told by a record custodian at Dade CI that the DOC already

had the relevant records but that I needed to sign the release again so that the DOC could

continue to access them.



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       41.     On May 24, 2016, I filed an appeal of the denial of Grievance No. 1605-401-009

to the DOC Secretary (appeal labeled as Grievance No. 16-6-23873), stating:

       I am transgender and face serious, needless suffering on a daily basis. The reason
       given for denial of medical treatment (that I must submit my medical records) is
       blatant and false. All of my relevant medical history has already been submitted to
       the staff ofECI, and I have also previously signed this release of medical records.
       My records show that I was formally diagnosed with Gender Identity Disorder,
       and as the result of that I had begun hormone therapy. This diagnosis has also
       been confirmed by the mental health staff at this facility. Considering that I have
       this diagnosis as well as very clear records that show I was prescribed hormone
       therapy and had lived as female for the majority of my life, this denial is based on
       no actual issue, and therefore is a case of willful indifference to my serious
       medical need for treatment. The treatment I require is as follows: 1. The ability to
       live as the gender I identify as (female)[;] 2. Hormone therapy[;] 3. Gender-
       confirmation Surgery. By not providing the necessary treatment, I am subjected to
       extreme discomfort, fear, depressions, fatigue, body image issues. As the records
       prove I was diagnosed and began treatment, this facility is in violation of Federal
       Inmate's Rights Statute 3.48, and in violation of the 8th amendment right not to
       be punished in a cruel or unusual manner. Refusal to provide medical treatment is
       a clear violation of both of these laws, as it is an obvious case of willful
       indifference.

       42.     My appeal was "returned without action" with a date of July 1, 2016. The

response states:

       Appeal Returned without Action: Your administrative appeal has been received
       and found to be in non-compliance with Rule 33-103, Inmate Grievance
       Procedure. This grievance presents the same issue as grievance log #14-6-39574.
       Per Rule 33-103.014(1)(q), grievances may be returned to the inmate without
       further processing if the inmate has filed more than one appeal of a grievance.
       Records reviewed indicate that you are still being followed by mental health.
       Based on the above information, your appeal is returned without action.

       43.     More than two years after my first request-two years of repeatedly

explaining my prior Gender Dysphoria diagnosis, the fact that I lived as female prior to

incarceration, and my prescription for hormones (and signing releases to provide records

documenting this) and informing the DOC of the significant harm I am experiencing as a

result of this treatment being withheld-the DOC has done nothing to provide me with



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my medically necessary care of hormone therapy and access to female dressing and

grooming standards.

        44.     Every day that goes by without appropriate treatment, I expenence

significant distress.

        45.     I cannot imagine surviving without hormone therapy and the ability to live

consistent with my female gender by being permitted access to female clothing and

grooming standards.


        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


        Executed on August~ 2016.




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